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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                Plaintiff,                  )
                                            )
          vs.                               ) Case No. 4:17 CR 52 HEA (JMB)
                                            )
MATTHEW BURKETT,                            )
                                            )
                Defendant.                  )

                   ORDER CONTINUING PRETRIAL RELEASE

      Matthew Burkett, the defendant herein, is charged with wire fraud in violation of 18

U.S.C. § 1343. Broadly, Burkett is charged with fraud in connection with gun sales that

occurred in 2012. Burkett, who resides in Arizona, was arrested on April 25, 2017, in the

District of Arizona. Burkett was released on his personal recognizance and ordered to

appear to appear before the undersigned, in the Eastern District of Missouri, on May 11,

2017. Burkett appeared as directed and was formally arraigned on the charge. The

undersigned adopted the conditions of release imposed in the District of Arizona and

issued an order modifying the conditions, which directed that Defendant reside at 1536 s.

River Drive, Tempe, Arizona.

      After Burkett’s arraignment, the Court received a violation report (ECF No. 15),

dated May 15, 2017, indicating that Burkett had tested positive for methamphetamine and

amphetamine in April 2017. No adverse action was recommended. On May 19, 2017,

the undersigned received additional information that Burkett had tested positive for
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methamphetamine on May 9, 2017, and again on May 17, 2017. The undersigned also

was advised that Burkett was residing at the residence required and that he was working at

his gun store, but purported only on scope mounts and parts. As a result, the undersigned

issued a warrant for Burkett. (ECF No. 18) Burkett was arrested in Arizona, detained

and transferred to this District.

        Burkett appeared on the pretrial release violation in this District on June 12, 2017.

The undersigned set a bond revocation hearing for June 15, 2017. (ECF No. 25) The

hearing was continued at Burkett’s request so that he could investigate the allegations and

options.     After additional continuances at Burkett’s request, the undersigned held a

hearing on July 19, 2017.              At the hearing the parties proceeded by proffer.                        The

undersigned indicated an inclination to continue Burkett on release but he could not be at

his gun store and must live at a viable, dependable, and reliable address. Burkett proffered

that he could live with his parents, but they were not currently home. The undersigned

was also advised that Burkett’s gun store is now closed. The government opposed

Burkett’s continued release.

        The undersigned took the matter under advisement and requested to be notified if

and when Pretrial Services could confirm that Burkett could, in fact, reside with his parents

in Arizona, and that the parents’ home was suitable. On August 10, 2017, the undersigned

was advised that Burkett could live with his parents and that the home is suitable, including

the removal of any firearms.1


        1
            Burkett has no history of violence. Nonetheless, all parties concur that he is an accomplished marksman.
The Court is concerned about firearms given Burkett’s use of methamphetamine. It should be noted that Burkett’s
last positive methamphetamine test was at a very low level. Further, Burkett has been detained for a considerable
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        After hearing argument from all parties, and considering the position of Pretrial

Services and the new information regarding a viable home plan for Defendant, the

undersigned concludes that Burkett’s pretrial release should be continued.                                      The

undersigned finds by clear and convincing evidence that Defendant violated his conditions

of release. At a minimum, he was not living where he knew he was supposed to live.

The undersigned also finds, however, that there remains a combination of conditions that

will reasonably assure the safety of the community and his appearance.

        Accordingly,

        IT IS HEREBY ORDERED that Defendant Matthew Burkett’s pretrial release in

this matter is to be continued.

        IT IS FURTHER ORDERED that Defendant’s conditions of release be modified

to include a requirement that he reside at his parents’ home at 8519 E. Angus, Scottsdale,

Arizona 85254 with location monitoring as directed by the Pretrial Services Office.

        IT IS FURTHER ORDERED that all other conditions of release imposed in this

matter shall remain in full force and effect.



                                                     /s/ John M. Bodenhausen
                                                     JOHN M. BODENHAUSEN
                                                     UNITED STATES MAGISTRATE JUDGE


Dated this 11th day of              August , 2017.




amount of time, thus improving the chances that drug testing and counseling will ensure he remains drug free.
